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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                    CIVIL MINUTES – GENERAL
 No.             2:20-cv-05191-ODW (MRWx)                             Date    September 23, 2020
 Title           Al Otro Lado et al. v. Department of Homeland Security et al.



 Present: The Honorable          Otis D. Wright, II, United States District Judge
                Sheila English                             Not reported                    N/A
                Deputy Clerk                       Court Reporter / Recorder             Tape No.
          Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                     Not present                                          Not present
 Proceedings:                                 In Chambers

      On July 13, 2020, Plaintiffs Al Otro Lado and the Edwin F. Mandel Legal Aid Clinic at
the University of Chicago Law School (together, “Plaintiffs”) filed a Motion for Preliminary
Injunction (“Motion”) seeking an order for the production of documents responsive to Plaintiffs
requests for records under the Freedom of Information Act, 5 U.S.C. § 552 (“FOIA”). (Mot.,
ECF No. 20.) The Motion came on for telephonic hearings on September 14, 2020, at
2:30 p.m., and September 23, 2020, at 9:00 a.m., in Courtroom 5D of the above-entitled Court.

       Having carefully considered the papers filed in connection with the Motion and the oral
argument of counsel at both hearings referenced above, the Court finds that Plaintiffs
successfully establish: (1) a likelihood of success on the merits; (2) a likelihood that they will
suffer irreparable harm if the preliminary relief is not granted; (3) that the balance of equities
tips in their favor; and (4) that the injunction is in the public interest. Winter v. Natural Res.
Def. Council, Inc., 555 U.S. 7, 20 (2008); see also Am. Immigration Council v. U.S. Dep’t of
Homeland Security, No. 20-1196 (TFH), 2020 WL 3639733 (D.D.C. July 6, 2020) (granting
preliminary injunction directing DHS to process approximately 800 pages of documents
responsive to a COVID-19-related FOIA request at a rate of 400 pages per month).

      Plaintiffs’ Motion is GRANTED IN PART. Defendants are hereby ORDERED to
deliver to Plaintiffs the records responsive to Plaintiffs’ FOIA requests as follows:




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          Documents reflecting recent information responsive to Plaintiffs’ seventh FOIA
           request—including the approximately twenty-seven excel worksheets identified by
           Defendants’ counsel at oral argument—within six weeks of this Order; and

          All other documents and worksheets responsive to Plaintiffs’ FOIA requests at a rate
           of 1000 pages per month, beginning immediately as of the date of this Order.

         IT IS SO ORDERED.

                                                                                   :   00
                                                 Initials of Preparer   SE




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